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                                                       FIRM RESUME




       IN RE GOOGLE RTB CONSUMER PRIVACY LITIGATION
                  NORTHERN DISTRICT OF CALIFORNIA
                  CASE NO. 4:21-cv-02155-YGR-VKD
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                   GENERAL INFORMATION AND FIRM HISTORY




A LEADING NATIONAL LAW FIRM. Simmons Hanly Conroy is a leading national law firm
representing individuals, businesses and government entities seeking justice. Our clients
have been harmed in every conceivable way: by terrorism, child abuse, defective drugs and
devices, toxic exposures and economic conspiracies. We are at home in the justice system,
whether in state or federal court, and we seek the best procedural course for our clients,
including the filing of individual cases, class actions, or multidistrict mass tort litigation, as
circumstances require.

A STRONG FOUNDATION AND COMMITMENT TO JUSTICE. Led by John Simmons, Paul J.
Hanly, Jr., and Jayne Conroy, and with over 90 attorneys and 150 support staff in offices
coast to coast, the firm brings centuries of experience to bear against companies who have
harmed American workers and families. We have spent years researching, talking to
countless experts, and creating a network of knowledge that gives clients the comprehensive
resources they deserve. We use these resources to level the playing field against larger
opponents in and out of the courtroom, and we have prevailed. Rest assured that SHC has
the resources and capital to handle almost any case, and the staying power to remain
committed throughout the litigation process. We are resolute and unwavering in our stance
against corporate wrongdoers.

A PROVEN RECORD OF SUCCESS. We stand on a strong foundation of values and a track
record of success. We never lose sight of the fact that our success is measured one satisfied
client at a time. Keeping this paramount is what helps drive our success. To date, Simmons
Hanly Conroy has secured over $9 billion in settlements and verdicts on behalf of thousands
of clients across the country.

A DIVERSE LITIGATION PRACTICE. OUR PRACTICE AREAS INCLUDE:
                                                      BUSINESS AND COMMERCIAL LITIGATION
  ASBESTOS & MESOTHELIOMA LITIGATION
                                                      CATASTROPHIC PERSONAL INJURY
  DANGEROUS DRUGS & MEDICAL DEVICES
                                                       LITIGATION
   LITIGATION
                                                      CLASS ACTIONS & MASS TORT
  SEXUAL ABUSE LITIGATION
                                                       LITIGATION



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                              FIRM AFFILIATIONS & AWARDS


SIMMONS HANLY CONROY and its attorneys are listed in several peer-reviewed legal
listings for its mass tort and private liability litigation practices, and have been recognized by
a number of legal and business listings, including:




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                                 FIRM QUALIFICATIONS


FIRM QUALIFICATIONS | Notable Cases
SIMMONS HANLY CONROY attorneys have a history of persevering for their clients amid the
most challenging circumstances and fierce opposition during the course of class action and
mass tort lawsuits. The following representative cases illustrate the firm’s experience,
commitment, and success in handling complex litigations.

                                     Opioid Litigation
Since 1999, the amount of opioids sold in the U.S. has nearly quadrupled. Over that same
time period, the number of deaths from prescription opioids have also more than
quadrupled. From 1999 to 2019, nearly 500,000 people have died in the United States from
overdoses involving opioids.
As hundreds of thousands of people suffered from the metastasizing opioid epidemic,
attorneys at Simmons Hanly Conroy took notice and effectively invented large-scale, multi-
defendant opioid litigation against drug manufacturers. In 2003, the firm commenced
groundbreaking opioid litigation and went toe-to-toe against pharmaceutical giants,
becoming the only major plaintiffs’ firm in the country at the time to prosecute and hold
drug manufacturers accountable for the havoc they wreaked on individuals, families and
governmental entities throughout the country.
Simmons Hanly Conroy continues to lead the way in opioid litigation against drug
manufacturers, distributors and retail pharmacies. SHC shareholder Jayne Conroy is co-lead
in the In Re National Prescription Opiate Litigation, MDL 2804 (N.D. Ohio) and a member of
the Plaintiffs’ Steering Committee in In re McKinsey & Co. Inc. National Prescription Opiate
Consultant Litigation, MDL 2996 (N.D. Cal.). In addition, the firm currently represents 11
New York counties and New York City in on-going litigation against pharmaceutical
companies and physicians over aggressive and fraudulent marketing of prescription opioid
painkillers that has led to a drug epidemic.

                  In re Chantix (Varenicline) Products Liability Litigation
Chantix, known by the generic name varenicline, works by blocking the effect of nicotine
on the brain. In early 2008, U.S. Food and Drug Administration officials acknowledged
receiving troubling reports from Chantix patients throughout the U.S. These reports
included 34 cases of suicide and nearly 420 reports of suicidal thoughts and behaviors. Firm
attorneys Jayne Conroy, Clint Fisher and David Miceli served on the Plaintiffs’ Steering
Committee against Pfizer. The case consolidated more than 2,500 lawsuits filed between
2009 and 2012 and was settled for approximately $299 million.

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FIRM QUALIFICATIONS | Notable Cases (Cont.)
    In re: DePuy Orthopaedics, Inc., Pinnacle Hip Implant Products Liability Litigation
In December 2016, SHC Shareholder Jayne Conroy served on the lead trial team that
secured a $1 billion jury verdict against the defendants on behalf of six patients who were
injured by DePuy’s Pinnacle metal-on-metal hip implant. The jury awarded more than $1
billion punitive damages and nearly $40 million compensatory damages. The legal team
convinced the jury in the U.S. District Court for the Northern District of Texas, Dallas
Division that J&J sidestepped standard regulatory review and mislead doctors to believe that
the design of the market-leading device was safe. The evidence presented during testimony
against J&J told the deeper story of how the science was manipulated in order to sell the
product, Jayne Conroy said. The trial was the third bellwether trial as part of the federal
multidistrict litigation.

In March 2016, SHC Shareholder Jayne Conroy served on the lead trial team that secured a
$502 million jury verdict against the defendants on behalf of five patients injured by DePuy’s
Pinnacle metal-on-metal hip implant. The jury verdict for $142 million compensatory and
$360 million punitive damages followed 37 days of testimony in the U.S. District Court for
the Northern District of Texas Dallas Division. The trial was the second bellwether trial as
part of the federal multidistrict litigation.

                   In re: Actos (Pioglitazone) Products Liability Litigation
The Actos lawsuits alleged Takeda Pharmaceutical Company executives ignored or
downplayed risks about the drug’s cancer-causing potential before Actos went on sale in the
U.S. in 1999, and also misled regulators about the medication’s risks. As reported by
Bloomberg, Takeda executives failed to provide clear warnings about the associated cancer
risk for at least seven years. Although research showed a link between Actos and bladder
cancer, the company chose not to issue warnings to consumers. SHC Shareholder Jayne
Conroy served as a court-appointed member of the Plaintiff’s Steering Committee and
helped secure millions of dollars for clients, with a global total of $2.37 billion.

                         Joseph Jean-Charles v. Douglas Perlitz et al.
The firm represented 24 Haitian boys who were the victims of a pedophile sponsored by
Fairfield University and the Society of Jesus. Members of the firm traveled to Haiti on
numerous occasions to investigate the case and provide counsel to the victims. Because of
their extraordinary efforts in both Haiti and the federal court proceedings in the United
States, the firm was able to hold the defendants responsible and provide justice to the victims
and their families, garnering a $12 million settlement and $500,000 per victim.



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FIRM QUALIFICATIONS | Notable Cases (Cont.)

                     In re: Yasmin and YAZ (Drospirenone) Marketing,
                      Sales Practices and Products Liability Litigation
Bayer aggressively marketed its birth control medications Yaz and Yasmin, claiming the
medications also treated PMS symptoms, caused weight loss and treated acne. Not only were
the claims misleading, according to the FDA, but the newer pill was also found to be three
times more likely to cause serious, fatal complications. SHC, led by attorney Jayne Conroy,
and joined by attorneys Trent Miracle and Paul Hanly, Jr., filed litigation on behalf of over
100 clients injured by the drug. Ms. Conroy and Mr. Miracle were appointed to leadership
positions on the federal Yaz MDL and helped negotiate the final global settlement of $1.69
billion dollars for all women harmed by the drug.



              In Re: Toyota Motor Corp. Unintended Acceleration Marketing,
                      Sales Practices, and Products Liability Litigation
SHC filed the first lawsuits on behalf of vehicle owners harmed by unintended acceleration
in 2010. Three years of hard-fought litigation followed in which firm shareholder Jayne
Conroy played a leading role, having been appointed by U.S. District Judge James Selna as
a member of the plaintiffs’ leadership team. In connection with the settlement, Ms. Conroy
was separately appointed by Judge Selna as one of three settlement allocation counsel charged
with overseeing the allocation of settlement funds to millions of Toyota owners throughout
the United States. SHC helped to secure more than $1.1 billion, plus $200 million in
attorneys’ fees and Toyota’s reimbursement of plaintiffs’ counsel’s expenses in the amount
of approximately $27 million



                     Chambers et al v. Merrill Lynch & Co., Inc., et al.
In this nationwide class action suit, the firm represented 1,100 former Merrill Lynch
financial advisors who were denied deferred compensation benefits upon the acquisition of
the company in 2009 by Bank of America. The complex case involved difficult issues of
contract interpretation in the context of class certification. The settlement was in the amount
of approximately $20 million for the plaintiffs. Shareholder Paul Hanly, Jr. served as lead
counsel.




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FIRM QUALIFICATIONS | Notable Cases (Cont.)
                         Families Impacted by 9/11 Terrorist Attack
SHC proudly represented thousands of family members of September 11 victims in their
suits against financial sponsors of terrorism and against airlines and airport security
companies. Working directly with Ronald L. Motley in this litigation, Simmons Hanly
Conroy co-founder Jayne Conroy was appointed to a leadership role on the Plaintiffs
Executive Committee for Personal Injury and Death Claims. She, and other firm mass tort
attorneys, represented the consolidated cases against the airlines and security companies in
the multidistrict litigation against the financial sponsors of terrorism. In 2007, the litigation
was settled for hundreds of millions of dollars in payments to clients of the firm. The firm
also represented property owners who suffered financial injury as a result of the September
11 attacks.

                    Synergetics USA, Inc. v. Alcon Laboratories Inc., et al.,
SHC represented Synergetics, a small medical device manufacturer, in an antitrust lawsuit
against a larger competitor. The suit alleged that Alcon engaged in certain anti-competitive
conduct in the market for vitreoretinal surgical equipment and supplies. Shareholder Paul
Hanly, Jr. served as lead counsel and the firm secured a $32 million settlement.

                   In re Volkswagen “Clean Diesel” Marketing, Sales Practices,
                                and Products Liability Litigation

A total of $15.9 billion in a class action lawsuit was awarded to the owners of Volkswagen
diesel vehicles that had secret software installed to falsely pass emission tests. More than $10
billion of the settlement was for buybacks of 2.0-liter diesel vehicles and owner
compensation. Another $1.2 billion was for buybacks of 3.0-liter diesel vehicles and the
remaining $4.7 billion went to offsetting excess emissions. Shareholder Jayne Conroy serves
on the Plaintiffs’ Executive Committee of the Volkswagen MDL.

                           In re Syngenta MIR162 Corn Litigation

The subject of the case was Syngenta’s Agrisure Viptera corn, a strain that had been
genetically modified to be resistant to insects. While Viptera had been approved in 2010
for sale in the United States, it did not have such acceptance in corn markets worldwide,
which class members allege was responsible for economic chaos within the U.S. corn market.
Shareholder Jayne Conroy served on the Plaintiffs’ Steering Committee for the Syngenta
MIR 162 MDL and the case ultimately resulted in Syngenta agreeing to pay $1.51 billion to
the members of a class of U.S. farmers who either grew corn or rent land for growing corn.
The result was considered by some to be the largest monetary award to-date in a court case
involving agriculture.

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FIRM QUALIFICATIONS | Notable Cases (Cont.)


                                    In re Meta Pixel Healthcare Litigation
                                    CASE NO. 3:22-CV-03580-WHO (N.D. CAL.)

Simmons Hanly Conroy led the charge against Meta in this privacy litigation, alleging that
Meta, through its “Meta Pixel,” unlawfully tracked, collected and used patients’ Health
Information. In re Meta Pixel Healthcare Litigation is a consolidated class action in the
Northern District of California, alleging claims for federal, state and common law claims.
Shareholder Jay Barnes was appointed co-lead.



                                 In re Facebook Internet Tracking Litigation
                                       CASE NO. 5:12-MD-02314 (N.D. CAL.)

A class action filed on behalf of Facebook Users, In re Facebook Internet Tracking Litigation is
a privacy suit against Facebook that challenges the company’s use of cookies to track
Facebook users even after they have logged out of the platform. Filed in the Northern District
of California, Plaintiffs allege violation of the Federal Wiretap Act, the Stored
Communications Act (SCA), the Computer Fraud and Abuse Act (CFAA) and California
common law and statutes. Plaintiffs pursued the case from the Northern District of
California to the Ninth Circuit, where they prevailed and garnered a decisive holding that
privacy violations are concrete injuries. Following this victory, Plaintiffs successfully
negotiated a $90 million settlement. SHC Shareholder Jay Barnes serves as chair of the
Plaintiffs’ Steering Committee and a member of a three-person Executive Committee.

In re Facebook Internet Tracking Litigation stands as a leading decision from the Ninth Circuit
on key data privacy claims, including the ECPA, intrusion upon seclusion, and whether
economic standing is established from the surreptitious taking and use of Internet user
personal information through web-browsers. Following Plaintiffs’ victories, lawyers at
defense firm Quinn Emanuel Urquhart & Sullivan warned: “companies that profit from the
sale of user data should be on notice that the decision in In re Facebook, Inc. Internet Tracking
Litigation may well be a watershed for data privacy lawsuits in this area.”1




1
    https://www.jdsupra.com/legalnews/june-2020-facebook-cookies-and-data-27641/

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FIRM QUALIFICATIONS | Leadership Appointments (Partial List)
SHC attorneys have held leadership roles in high-stakes, high-profile litigation of national
scope. To be appointed, the firm and its attorneys must have a track record of experience
and demonstrate that they have the resources necessary to litigate the cases to resolution.
SHC attorneys hold leadership roles in the following case:

        In re Facebook Internet Tracking Litig., Case No. 5:12-md-02314 (N.D. Cal.)
        In re Google RTB Privacy Litigation, Case No. 4:20-cv-02155 (N.D. Cal.)
        In Re National Prescription Opiate Litig., MDL 2804 (N.D. Ohio)
        In re McKinsey & Co. Inc. National Prescription Opiate Consultant Litig., MDL 2996
         (N.D. Cal.)
        In re Allergan Biocell Textured Breast Implant Prods. Liab. Litig., MDL No. 2921
         (D.N.J)
        In re Volkswagen “Clean Diesel” Marketing, Sales Practices, And Prods. Liab. Litig.,
         MDL No. 2672 (N.D. Cal.)
        In re Toyota Motor Corp. Unintended Acceleration Marketing, Sales Practices, and Prod.
         Liab. Litig., MDL 2151 (C.D. Cal.)
        In re Terrorist Attacks on September 11, 2001, MDL 1570 (S.D.N.Y.)
        In re DePuy Pinnacle Hip Implant Prods. Liab. Litig., MDL 2244 (N.D. Tex.)
        In re DePuy ASR Hip Implant Prods. Liab. Litig., MDL 2197 (N.D. Ohio)
        In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf Of Mexico, on April 20,
         2010, MDL 2179 (E.D. La.)
        In re Syngenta AG MIR162 Corn Litig., MDL 2591 (D. Kan.)
        In re Lipitor Prods. Liab. Litig., MDL 2502 (D.S.C.)
        In re Zoloft Products Liability Litigation, MDL 2342 (E.D. Pa.)
        In Re Propecia (Finasteride) Product Liability Litigation, MDL 2331 (E.D.N.Y.)
        In re Pelvic Repair System Products Liability Litigation, MDL 2325, 2326 & 2327
         (S.D. W. Va.)
        In re Actos Products Liability Litigation, MDL 2299 (W.D. La.)
        In re Yazmin and Yaz (Drospirenone) Marketing, Sales Practices and Prods. Liab. Litig.,
         MDL 2100 (S.D. Ill.)
        In re Chantix (Varenicline) Prods. Liab. Litig., MDL 2092 (N.D. Ala.)
        In re Gadolinium-Based Contrast Agents Prods. Liab. Litig., MDL 1909 (N.D. Ohio)
        In re Zyprexa Litig., MDL 1596 (E.D.N.Y.)


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FIRM QUALIFICATIONS | Resources and Commitment
                                              SHC has more than 70 lawyers and 150
                                              support staff, has extensive financial
                                              resources, has extensive experience in
                                              mass torts and complex litigation, has a
                                              significant reputation nationwide, and
                                              has successfully prosecuted thousands
                                              of claims against some of the largest
                                              companies in the world.


Simmons Hanly Conroy has the track record, the staying power and the resources to
handle all phases of litigation of this matter and the firm is committed to aggressively
prosecuting this case through final resolution. Our firm has and will continue to
litigate cases in multiple courts across the country, and we have the resources and the
capital to support ongoing litigation. A sample list of the resources we bring to bear
are as follows.
OUR RESOURCES
                   90 plus attorneys and 150 paralegals, assistants and
                    support staff spread through six offices in the United
                    States

                   16 full-time case investigators, including former
                    police officers

                   State-of-the-art technical support for document
                    management and trial preparation

                   Research and Discovery Department comprised of
                    veteran attorneys and PhD researchers

                   Robust national network of consulting and trial
                    experts




NTMENTS Class Actions & Data Privacy
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                                   ATTORNEY QUALIFICATIONS

ATTORNEY QUALIFICATIONS | Jayne Conroy, Leadership
                              Jayne Conroy is a named shareholder at Simmons Hanly Conroy and
                              oversees the Complex Litigation Department. Under her leadership, the
                              firm has become one of the country’s largest plaintiff law firms dedicated
                              to helping those injured by corporate wrongdoing. With a legal career
                              spanning more than three decades, Jayne has earned a superb national
                              reputation as an elite trial lawyer, skilled strategist and decisive
                              negotiator. She has consistently helped secure billions of dollars in
                              verdicts and settlements for thousands of individuals, families and
                              communities in numerous courtrooms nationwide.
                              Jayne focuses her practice in mass torts, class actions, product liability,
                              pharmaceutical and sexual abuse litigation. She serves or has served on
dozens of court-appointed leadership committees in complex legal actions of national scope.

                                     FIGHTING THE OPIOID EPIDEMIC
Jayne and the firm are at the forefront of unprecedented litigation that seeks to resolve the ongoing
opioid epidemic. The litigation looks to secure meaningful funds for communities that incurred millions
in costs related to dealing with the estimated 400,000 opioid-related deaths since 1996. A sampling of
Jayne’s leadership in the opioid litigation includes:
   In re: National Prescription Opiate Litigation, MDL 2804 (N.D. Ohio 2018). Co-Lead of Plaintiffs’
    Executive Committee.
   In re McKinsey & Co Inc National Prescription Opiate Consultant Litigation, Judicial Panel on Multidistrict
    Litigation, No. 2996. Court-appointed member of the Plaintiffs Steering Committee.
   In re: Opioid Litigation, case number 400000/2017; County of Suffolk v. Purdue Pharma LP et al., case
    number 400001/2017; County of Nassau v. Purdue Pharma LP et al., case number 400008/2017; and
    State of New York v. Purdue Pharma LP et al., case number 400016/2018, in the Supreme Court of the State
    of New York, County of Suffolk. Lead counsel for Suffolk County. $1.7 billion in settlements.

                                         A SAMPLING OF RESULTS
   $26 billion global settlement with McKesson Corp., Cardinal Health Inc., AmerisourceBergen Drug
    Corp. and Johnson & Johnson as part of the National Prescription Opiate MDL.
   Over $1.7 billion in verdicts for those affected by J&J/DePuy Pinnacle hip replacement devices after
    four bellwether trials.
   $60 million to a class of 170+ Haitian boys abused by a convicted pedophile at a school sponsored
    by a Connecticut-based university.
   $16 billion global settlement for owners of VW vehicles involved in the 2016 emissions scandal.
   Multiple billions of dollars in claims for businesses and individuals harmed by the Deepwater
    Horizon Oil Spill.
   $1.69 billion global settlement for women injured by Yaz birth control.
   Hundreds of millions of dollars in settlements for the families and victims of the 9/11 tragedy.

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ATTORNEY QUALIFICATIONS | Jason “Jay” Barnes, Shareholder
                                Jay Barnes is a shareholder at Simmons Hanly Conroy in the
                                Complex Litigation Department. He leads the Class Action
                                Litigation Team and focuses his practice on consumer protection and
                                data privacy lawsuits. Prior to joining the firm, Jay served eight years
                                as a state representative in the Missouri General Assembly. There, he
                                fought against fraud, abuse and waste as chairman of the House
                                Committee on Government Oversight and Accountability. He also
                                served as chairman of the Special Investigative Committee on
                                Oversight formed in 2018 to investigate the wrongdoings of former
                                Missouri governor Eric Greitens.
                                As a shareholder, Jay represents hardworking people who have been
wronged through corporate fraud and utilizes a mixture of experience, dedication, professionalism
and tenacity to secure justice on behalf of his clients. As one of the nation’s leading consumer-privacy
attorneys, Jay has held leadership positions and key roles in several notable privacy cases, including:
 In re Google Cookie Placement Consumer Privacy Litig., 806 F.3d 125 (3d Cir. 2015): Jay was a
  member of the Plaintiffs’ Steering Committee. The case is the first decision to establish that a
  company can be held liable for intrusion upon seclusion for misleading consumers about their
  privacy practices.
 In re Nickelodeon Consumer Privacy Litig., 827 F.3d 262 (3d Cir. 2016): Jay was co-lead counsel on
  this case. Nickelodeon remains a staple of the data privacy jurisprudence. It is the first post-Spokeo
  decision from any Circuit court to affirmatively hold that privacy injury is sufficient to confer
  Article III standing for common law torts and statutory claims. I served as co-lead counsel with
  two other firms; had responsibility for briefing the intrusion, Wiretap, and VPPA claims; and
  successfully argued the appeal before the Third Circuit.
 In re Facebook, Inc. Internet Tracking Litig., 956 F.3d 589 (9th Cir. 2020): Jay is chair of the
  Plaintiffs’ Steering Committee and a member of a three-person Executive Committee. This case
  is the leading decision from the Ninth Circuit on key privacy claims, including the ECPA,
  intrusion upon seclusion, and whether economic standing is established from the surreptitious
  taking and use of Internet user personal information through web-browsers.

An Award-winning Attorney, Jay’s accomplishments are well-documented not only through verdicts,
settlements and press clippings, but also through the awards and accolades he’s received from his
peers and community. A small sampling of notable honors include:
   Influential Lawyer Award, Missouri Lawyers Weekly, 2019
   Champion of Justice Award, Missouri Association of Trial Attorneys, 2018
   State Advocate of the Year Award, St. Louis Children’s Hospital, 2015
   Rory Ellinger Legislative Award, The Legal Services of Eastern Missouri, 2015
   Legislator of the Year Award, Missouri Bar Association, 2014
For additional information          please    visit   https://www.simmonsfirm.com/about-us/our-
attorneys/jason-barnes/



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ATTORNEY QUALIFICATIONS | Eric S. Johnson, Shareholder
                           Eric Johnson is a shareholder at Simmons Hanly Conroy, focusing
                           his practice on complex litigation, mass torts and consumer class
                           actions. Eric graduated with his master’s degree in public health
                           from the University of Illinois at Chicago and earned his J.D. from
                           St. Louis University’s School of Law where he was a member of the
                           school’s National Moot Court Competition Team. During law
                           school, he also worked as a law clerk for Judge Paula Bryant in the
                           22nd Judicial Circuit Court in St. Louis. Eric is a member of the
                           Missouri Bar and admitted to practice in the Eastern and Western
                           Districts of Missouri, and the South and central Districts of Illinois.
As a shareholder of the firm, Eric has represented individuals in consumer protection and
consumer fraud class actions, dangerous drugs and defective medical devices litigations, and
data privacy actions. In 2012, Eric was selected to serve on the national multidistrict litigation
discovery sub-committee involving the DePuy Pinnacle System metal-on-metal hip implant.
He was also awarded the Judge Robert G. Dowd, Sr. Appellate Advocacy Award in 2008.
For additional information please visit https://www.simmonsfirm.com/about-us/our-
attorneys/eric-johnson/

ATTORNEY QUALIFICATIONS | An V. Truong, Shareholder
                           An Truong is an shareholder at Simmons Hanly Conroy in the
                           Complex Litigation Department. Located in the firm’s New York
                           City office, An works with a team of attorneys to give clients a voice
                           against corporations who prioritize profits over individuals’ health
                           and safety. Her practice is focused on advocating for the rights of
                           consumers against large corporations, including class actions
                           involving product liability, consumer fraud, and data privacy
                           violations.
                            Currently, An serves on the law & briefing committee in the
                            multidistrict litigation, In re: Allergan Biocell Textured Breast Implant
Products Liability Litigation, MDL No. 2921, and she is a member of the litigation team for
Calhoun, et al. v. Google, LLC, 20-cv-05146, In re Google RTB Privacy Litigation, 20-cv-02155,
and In re Meta Pixel Healthcare Litigation, 22-cv-03580.
Prior to joining Simmons Hanly Conroy, An worked as a senior appellate court attorney
with the New York Supreme Court, Appellate Division. An is a graduate of The Ohio State
University and obtained her J.D., cum laude, from New York Law School. She is a member
of the New York Bar and admitted to practice in the Southern and Eastern Districts of New
York.
For additional information please visit https://www.simmonsfirm.com/about-us/our-
attorneys/an-truong/
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ATTORNEY QUALIFICATIONS | Erin Gee, Associate
                           Erin Gee is an attorney at Simmons Hanly Conroy in the Complex
                           Litigation Department. Her practice is focused on complex legal
                           matters involving privacy, pharmaceutical, and medical device
                           issues.
                          Erin was a member of the trial team for the bellwether trials in
                          MDL 2244, In re: DePuy Orthopaedics, Inc., Pinnacle Hip Implant
                          Products Liability Litigation, in the United States District Court for
                          the Northern District of Texas. Together, the three trials resulted
                          in more than $1.5 billion in jury verdicts and led to settlement of
one of the largest MDLs in the country. Erin was also involved with individual cases pending
in MDL 2391, In re: Biomet M2A Magnum Hip Implant Products Liability Litigation, in the
United States District Court for the Northern District of Indiana. In addition to briefing
key issues, she assisted lead counsel with one of the largest and most diverse post-global
settlement/opt out group of Biomet plaintiffs.
Erin received a B.B.A. in Management from Texas A&M University and her J.D. from Baylor
University School of Law. While there, she served on the Baylor Law Review and participated
in both mock trial and moot court teams.
For additional information please visit https://www.simmonsfirm.com/about-us/our-
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ATTORNEY QUALIFICATIONS | Jenny Paulson, Associate
                           Jenny Paulson is an associate at Simmons Hanly Conroy. She
                           joined the firm’s Complex Litigation Department in 2022, and
                           focuses her practice on consumer class action lawsuits. Located at
                           the firm’s Alton, Illinois office, Jenny works closely with the trial
                           attorneys on all aspects of litigation from initial investigation, to
                           pleadings and discovery, and on to trial preparation.
                          Prior to joining the firm, Jenny served as a judicial law clerk to
                          Chief Judge Nancy J. Rosenstengel, the Honorable Mark A. Beatty
                          and the Honorable Clifford J. Proud in the U.S. District Court for
the Southern District of Illinois.
Jenny received a B.A. in English from The Ohio State University in 2014. She received her
J.D. and MBA from Southern Illinois University School of Law, graduating summa cum
laude and first in her class.
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